                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 7
                                                                     )
    AKORN HOLDING COMPANY LLC,1                                      )   Case No. 23-10253 (KBO)
                                                                     )
                                      Debtor.                        )
                                                                     )
                                                                     )
    In re:                                                           )   Chapter 7
                                                                     )
    AKORN INTERMEDIATE COMPANY LLC,                                  )   Case No. 23-10254 (KBO)
                                                                     )
                                      Debtor.                        )
                                                                     )
                                                                     )
    In re:                                                           )   Chapter 7
                                                                     )
    AKORN OPERATING COMPANY LLC,                                     )   Case No. 23-10255 (KBO)
                                                                     )
                                      Debtor.                        )
                                                                     )


                                   NOTICE OF APPEARANCE AND
                                 REQUEST FOR SERVICE OF PAPERS

                  PLEASE TAKE NOTICE that the attorneys listed below enter their appearances

(this “Notice of Appearance”) as counsel to an ad hoc group of term loan lenders (the “Term

Lender Group”) of the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), parties in interest in the above-captioned chapter 7 cases (collectively, the “Chapter 7

Cases”), pursuant to sections 342 and 1109(b) of title 11 of the United States Code, 11 U.S.C. §§

101 et seq. (the “Bankruptcy Code”), and Rules 2002, 3017, 9007, and 9010 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), and request that all notices given or required


1The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, are
Akorn Holding Company LLC (9190), Akorn Intermediate Company LLC (6123), and Akorn Operating Company
LLC (6184). The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.


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to be given in the Chapter 7 Cases, and all papers served or required to be served in the Chapter 7

Cases, be given and served upon the following:

 Scott J. Greenberg                                  Laura Davis Jones
 Steven A. Domanowski                                Peter J. Keane
 Matthew J. Williams                                 PACHULSKI STANG ZIEHL & JONES LLP
 C. Lee Wilson                                       919 N. Market Street, 17th Floor
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                 PLEASE TAKE FURTHER NOTICE that the foregoing demand is not only for

the notices and papers referred to in the sections of the Bankruptcy Code and the Bankruptcy Rules

specified above, but also includes, without limitation, any and all orders and notices of any

application, motion, petition, complaint, demand, request, or other pleading in the Chapter 7 Cases,

whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

delivery, telephone, electronically, or otherwise filed with or delivered to the Bankruptcy Clerk,

Court, or Judge (as those terms are defined in Bankruptcy Rule 9001), which affects the Debtors

or their property or the Term Lender Group.

                 PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance,

nor any later appearances, pleadings, proofs of claim, claims, or suits filed in the Chapter 7 Cases,

shall be deemed or construed as a waiver: (i) of any rights of the Term Lender Group to (a) have

final orders in any non-core matters entered only after de novo review by a District Judge, (b) trial

by jury in any proceeding so triable in the Chapter 7 Cases or any case, controversy, or proceeding


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related to the Chapter 7 Cases, (c) have the District Court withdraw the reference in any matter

subject to mandatory or discretionary withdrawal; or (ii) of any other rights (including setoff and

recoupment), claims, actions, and defenses of the Term Lender Group, either in law or in equity,

under any agreements or otherwise, all of which rights, claims, actions, and defenses are expressly

reserved.

 Dated: February 24, 2023                PACHULSKI STANG ZIEHL & JONES LLP
        Wilmington, Delaware
                                         /s/ Laura Davis Jones
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                                         -and-

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